          Case 3:17-cr-00378-RS Document 46 Filed 01/13/21 Page 1 of 3




             UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              San Francisco Venue


               Request for Modifying the Conditions or Term of Supervision
                           from the Person Under Supervision
                   (Probation Form 49, Waiver of Hearings is Attached)


 Person Under Supervision                        Docket Number
 Robert Guevara                                  0971 3:17CR00378-001 RS

 Name of Sentencing Judge: The Honorable Richard Seeborg
                           United States District Judge

 Date of Original Sentence:     April 3, 2018

 Original Offense
 Count One: Conspiracy to Distribute Methamphetamine, 21 U.S.C. §§ 846, 841(a)(1) &
 (b)(1)(B)(viii), a Class B Felony;
 Count Two: Distribution of Methamphetamine, 21 U.S.C. § 841(a)(1) & (b)(1)(B)(viii), a
 Class B Felony.

 Original Sentence: 60 months imprisonment and 5 years supervised release.

 Special Conditions: vocational training; pay $200 special assessment; drug registration; no
 weapons; expanded search; drug testing; drug treatment; no alcohol; no contact with Lillian
 Hovan; DNA collection.

 Prior Form(s) 12: None.

 Type of Supervision                             Date Supervision Will Commence
 Supervised Release                              January 25, 2021

 Assistant U.S. Attorney                         Defense Counsel
 Denise Oki                                      Severa Keith (Appointed)


                                    Petitioning the Court

To modify the conditions of Supervised Release as follows:

You must reside for a period of up to 120 days in the Residential Reentry Center (RRC) and shall
observe the rules of that facility. You shall remain at that facility until discharged by the
supervising officer.


                                                                   NDC-SUPV-FORM 12B(1) 4/6/2015
          Case 3:17-cr-00378-RS Document 46 Filed 01/13/21 Page 2 of 3

RE:    Guevara, Robert
       0971 3:17CR00378-001 RS
                                             Cause

Mr. Guevara’s term of supervised release is set to commence on January 25, 2021. He is currently
a prerelease resident at the Residential Reentry Center in San Francisco. Mr. Guevara reported is
unable to transition to his own residence at this time. He has requested to extend his stay at the
Residential Reentry Center until he can establish a viable release plan. Mr. Guevara’s signed
Waiver of Hearing form requesting the modification of his conditions of supervision is attached
for the Court’s review and consideration.

 Respectfully submitted,                          Reviewed by:



 ___________________________________              ___________________________________
 Jose Figueroa                                    Aaron Tam
 U.S. Probation Officer                           Supervisory U.S. Probation Officer
 Date Signed: January 13, 2021


THE COURT ORDERS:

 X     To modify the conditions of supervision as follows:

           You must reside for a period of up to 120 days in the Residential Reentry Center
           (RRC) and shall observe the rules of that facility. You shall remain at that facility
           until discharged by the supervising probation officer.

       Submit a request for a warrant
       Submit a request for summons
       Other:




  January 13, 2021
 Date                                                Richard Seeborg
                                                     United States District Judge




                                                                     NDC-SUPV-FORM 12B(1) 4/6/2015
Case 3:17-cr-00378-RS   Document
       Case 3:17-cr-00378-RS     45-1 (Court
                             Document        only) 01/13/21
                                        46 Filed     Filed 01/13/21
                                                              Page 3 Page
                                                                     of 3 1 of 1
